Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 1 of 17

Timothy M. Bechtold
BECHTOLD LAW FIRM, PLLC
317 East Spruce Street
P.O. Box 7051
Missoula, MT 59807
406-721-1435
tim@bechtoldlaw.net

Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
BUTTE DIVISION
MIKAYLA McNEA and XAVIER GILES, CV-
Plaintiffs,
COMPLAINT and
V. JURY DEMAND

TYLER BRANT; STATE OF MONTANA;
GALLATIN COUNTY; and DOES 1-10.

Defendants.

ee ime Nee eee ee ee ee ee ee

 

INTRODUCTION
1. This is an action for deprivation of civil rights under color of law, and for
negligence, and other wrongful acts. This action arises out of both federal and

state law for damages resulting from the unlawful conduct of Defendants.

COMPLAINT PAGE 1
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 2 of 17

JURISDICTION AND VENUE
2. This Court has subject matter jurisdiction over the claims specified in this
Complaint pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1343, and 42 U.S.C. § 1983.
Plaintiffs also seek redress for violations of protections afforded them under the
Montana Constitution.
3. Jurisdiction for state law claims against all Defendants pursuant to the law
of the State of Montana is conferred upon this Court pursuant to 28 U.S.C. § 1367.
4. Venue in this case is proper under 28 U.S.C. § 1391 and LR 1.2. Gallatin
County is located in the Butte Division of the United States District Court for the
District of Montana. The events giving rise to the claims in this case occurred in
this judicial district.
5. Plaintiffs provided notice of the claims in this Complaint to the Department
of Administration pursuant to MCA §2-9-301. The Department of Administration
acknowledged receipt on January 29, 2020.

THE PARTIES

6. Plaintiff Mikayla McNea is a citizen of the State of Colorado.
7. Plaintiff Xavier Giles is a citizen of the State of Colorado.
8. Based on information and belief, Defendant Brant is a citizen of the State of

Montana. Defendant Brant was an employee of the Montana Highway Patrol at

COMPLAINT PAGE 2
Case 2:20-cv-00026-BMM Document 1 Filed 07/09/20 Page 3 of 17

all times pertinent to this matter. He is sued in both his individual and official
capacities.

9. Defendant State of Montana is a political subdivision of the United States.
10. Defendant Gallatin County is a governmental subdivision of the State of
Montana pursuant to MCA §7-1-2101 et seq.

11. Defendants Does 1-10 are individuals whose true identities and capacities
are as yet unknown to Plaintiffs and their counsel, despite diligent inquiry and
investigation, and who acted herein as described more particularly below in
connection with the breaches of duties and/or violations of law alleged herein
and who in some manner or form not currently discovered or known to Plaintiffs
may have contributed to or be responsible for the injuries alleged in this
Complaint. The true names and capacities of the Doe Defendants will be

substituted as they become known.

FACTUAL ALLEGATIONS
12. On December 9, 2019, at about 5:00 p.m., Mikayla McNea and Xavier Giles
were driving in separate vehicles westbound on Interstate 90 near Bozeman,

Montana.

COMPLAINT PAGE 3
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 4 of 17

13. Defendant Brant was on duty in his patrol car in the median between the
eastbound and westbound traffic.

14. After Mikayla and Xavier drove past Defendant Brant, Defendant Brant
immediately entered the roadway with his vehicle and closely followed Mikayla
for several minutes, closely followed Xavier for several minutes, then accelerated
past both Mikayla and Xavier.

15. Defendant Brant then drove into the righthand lane of traffic and slowed
down.

16. When Xavier caught up to Defendant Brant and passed him, Defendant
Brant cut between Xavier and Mikayla, activated his lights, and pulled Xavier over.
17. Mikayla also pulled over about two car lengths behind Defendant Brant’s
vehicle.

18. Another officer (Officer #2) pulled his vehicle over behind Mikayla’s
vehicle, approached Mikayla’s vehicle on foot, and requested her identification.
19. Officer #2 asked Mikayla why she was in Montana and if she had anything
he should be worried about in her car.

20. Mikayla told Officer #2 that she had a Swiss army knife, and that she and
Xavier were relocating to Montana from Colorado because Xavier had a new job

as a corrections officer at Montana State Prison.

COMPLAINT PAGE 4
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 5 of 17

21. Officer #2 then returned to his vehicle with Mikayla’s driver’s license.

22. Defendant Brant then approached Mikayla on foot and asked Mikayla why
Xavier had an attitude and was being rude, if Xavier had any weapons in his
vehicle, and why Mikayla and Xavier had walkie-talkies.

23. Mikayla told Defendant Brant that if Defendant Brant was being rude and
disrespectful to Xavier, Defendant Brant could expect that Xavier would be
disrespectful in return.

24. Mikayla told Defendant Brant that Xavier did not have weapons in his
vehicle and that they used walkie-talkies to communicate with each other.

25. Defendant Brant asked Mikayla to accompany him to Xavier’s vehicle, and
Mikayla accompanied Defendant Brant to Xavier’s vehicle.

26. Defendant Brant told Xavier and Mikayla that a motorist had called in a
complaint that two cars matching their cars were speeding and cutting in and out
of traffic, but that Defendant Brant had pulled Xavier over for expired tags on his
vehicle.

27. Officer #2 escorted Mikayla back to her vehicle, and Defendant Brant
escorted Xavier to Defendant Brant’s vehicle.

28. Defendant Brant called a K-9 unit to the scene.

COMPLAINT PAGE 5
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 6 of 17

29. Officer #2 asked Mikayla if the officers could take the dog around her
vehicle. Mikayla told Officer #2 that she did not mind if the dog was taken around
her vehicle.

30. The K-9 officer (Officer #3) arrived and deployed the dog.

31. Defendant Brant told Xavier that the dog “hit” on Xavier’s vehicle.

32. Defendant Brant told Xavier that the officers wanted to search his vehicle.
33. Officer #3 asked Mikayla to sit in his vehicle. Defendant Brant approached
Mikayla and asked her if Xavier was “legal here.” Mikayla responded that Xavier
had a Montana license. Defendant Brant then inquired if Xavier was legal “here in
the United States.” Mikayla responded that Xavier was born and raised in the
United States.

34. Defendant Brant then inquired whether Xavier had gone to Mexico in the
past, to which Mikayla responded that Xavier had not gone to Mexico in the seven
years that they had been a couple.

35. Defendant Brant then inquired why Xavier would go to Mexico, and Mikayla
responded that Xavier had family in Mexico, and his parents were both from
Mexico.

36. Defendant Brant then asked why the dog would be interested in Mikayla’s

vehicle, and Mikayla responded that she had no idea.

COMPLAINT PAGE 6
Case 2:20-cv-00026-BMM Document 1 Filed 07/09/20 Page 7 of 17

37. Defendant Brant then asked for permission to search Mikayla’s car, which
Mikayla granted.

38. Defendant Brant then searched Xavier.

39. Xavier refused to give Defendant Brant permission to search Xavier’s
vehicle because there was no basis for a search.

40. Defendant Brant ordered both Mikayla’s vehicle and Xavier’s vehicle to be
towed, and officers transported Mikayla and Xavier to a hotel.

41. Thenext day, December 10, 2019, Mikayla called the Montana Highway
Patrol and inquired when she and Xavier would get their vehicles back. She was
told the Defendant Brant would call when the vehicles were ready to be released.
42. Ator about 10:20 p.m. on December 10, 2019, Defendant Brant called and
told Mikayla and Xavier that the cars were being released. Mikayla asked
Defendant Brant to give them a ride to the place where the vehicles were located,
and Defendant Brant said he would send a trooper over to transport them.

43. Atorabout 11:07 p.m. on December 10, 2019, a female trooper arrived,
searched Mikayla and Xavier, placed them in her vehicle, and transported them to
the lot where the vehicles were located.

44, Mikayla and Xavier discovered that the vehicles had been ransacked and

several items of personal property had been destroyed, and that the vehicles had

COMPLAINT PAGE 7
Case 2:20-cv-00026-BMM Document 1 Filed 07/09/20 Page 8 of 17

numerous new dents, scratches, and scuffs on the exteriors, and damage to the
seats, wiring, lights, and center console on the interiors, and that tape had been
affixed to various locations o the vehicles, marring the paint on the vehicles.
45. Xavier and Mikayla drove their vehicles back to the hotel and left Bozeman
early on December 11.
46. Thenext morning a Montana Highway patrol officer stopped Xavier and
47. Because of the treatment they received from Defendants, Xavier and
Mikayla decided they would not relocate to Montana.
COUNT 1

VIOLATION OF CONSTITUTIONAL RIGHTS
48. Mikayla and Xavier hereby incorporate all paragraphs of this Complaint.
49. Asaresult of Defendants’ actions under color of law related to illegal
detention of Mikayla and Xavier and illegal seizure of their property, Mikayla and
Xavier were was deprived of their rights under the United States Constitution.
50. Atall times in which they interacted with Mikayla and Xavier, Defendants
acted under color of law, statutes, ordinances, rules, regulations, customs,
policies, practices, and/or usages of Gallatin County and the State of Montana.
51. Defendant Brant, while acting under color of law, deprived Mikayla and

Xavier of their civil rights under the Fourth Amendment to be free from detention

COMPLAINT PAGE 8
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 9 of 17

and arrest not based on probable cause, and to be free from unreasonable
searches, and free from unreasonable seizures.

52. The acts and omissions of Defendant Brant and Doe Defendants, while
carried out under color of law, have no justification or excuse in law, and instead
constitute a gross abuse of governmental authority and power, shock the
conscience, are fundamentally unfair, arbitrary and oppressive, and unrelated to
any activity in which governmental officers may appropriately and legally
undertake in the course of protecting persons or property, or ensuring civil order.
The above acts and omissions were consciously chosen from among various
alternatives.

53. There was no basis to call for a K-9 search.

54. There was no probable cause to impound and search Mikayla’s and Xavier’s
vehicles.

55. Defendant Brant’s actions and the actions of the Doe Defendants were
motivated by discriminatory racial animus.

56. Defendants Gallatin County and State of Montana established policies,
customs, and practices that caused the violation of Mikayla’s and Xavier's rights

under the United States Constitution.

COMPLAINT PAGE 9
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 10 of 17

57. Defendants Gallatin County and State of Montana failed to train, supervise,
and discipline law enforcement officers employed by it with respect to
investigating alleged criminal activity, probable cause, and investigating conduct
of law enforcement officers.

58. The policies, customs, and practices implicitly or explicitly adopted by
Defendants Gallatin County and State of Montana regarding training, supervision,
and discipline amounted to deliberate indifference to and conscious disregard of
Mikayla’s and Xavier’s constitutional rights and ratification of violation of those
rights. These policies, customs, and practices include, but are not limited to, the
following:

Failing to adequately train, supervise, and control officers in proper
communications with members of the public;

Failing to adequately train, supervise, and control officers in
determination of probable cause and investigation of alleged criminal
conduct;

Failing to discipline officers involved in abusing their authority; and
Condoning and encouraging officers in the belief that they can violate
the rights of persons such as Mikayla and Xavier with impunity, and that

such conduct will not adversely affect their opportunities for promotion
and other employment benefits.

COMPLAINT PAGE 10
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 11 of 17

59. The individuals who violated Mikayla’s and Xavier’s statutory and
constitutional rights included officials with final policy-making authority, thus the
constitutional violations were acts of official governmental policies.

60. Defendants Gallatin County and State of Montana, through their policies,
ordinances, regulations, customs, official decisions, and failure to train, supervise,
or discipline ratified the law enforcement officers’ illegal detention of Mikayla and
Xavier and illegal seizures of their property.

61. Each of the foregoing acts and/or omissions in this Count directly and
proximately caused or contributed to Mikayla’s and Xavier’s constitutional
deprivations, injuries, and damages. Mikayla and Xavier suffered and will continue
to suffer great mental and physical pain, suffering, anguish, fright, nervousness,
anxiety, shock, humiliation, indignity, embarrassment, harm to reputation,
apprehension, and economic damages, which have caused them to sustain

damages in a sum to be determined at trial.

COUNT 2

NEGLIGENCE

62. Mikayla and Xavier hereby incorporate all paragraphs of this Complaint.

COMPLAINT PAGE 11
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 12 of 17

63.  Atall times pertinent to this Complaint, Defendant Brant, Doe Defendants,
Defendant Gallatin County, and Defendant State of Montana were subject to a
duty of care under state law in the exercise of the police function to protect
Mikayla’s and Xavier’s constitutional, statutory, and common law rights. The
conduct of Defendants as set forth in this Complaint does not comply with the
standard of care, and included negligent training, supervision, and discipline of
law enforcement officers; negligent enactment, enforcement, and violation of law
enforcement policies and procedures; negligent violation of Mikayla’s and
Xavier's constitutional, statutory, and common law rights; and negligent
performance of official duties.

64. Among other duties, Defendants did not comply with the standard of care
of reasonable law enforcement officers in their investigation and detention of
Mikayla and Xavier, and detention of Mikayla’s and Xavier’s vehicles.

65. Defendants negligently caused damage to Mikayla’s and Xavier's vehicles
and personal property.

66. Asadirect and proximate result of Defendants’ negligence, Mikayla and
Xavier suffered damages.

67. Defendant Gallatin County and Defendant State of Montana are responsible

for the torts committed by their agents.

COMPLAINT PAGE 12
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 13 of 17

COUNT 3
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

68. Mikayla and Xavier hereby incorporate all paragraphs of this Complaint.
69. Doe Defendants and Defendant Brant maliciously engaged in outrageous
conduct by detaining Mikayla and Xavier with no probable cause to do so, seizing
their vehicles, and violating their constitutional rights.
70. Defendants’ acts were intended to produce emotional distress. Defendants
acted in deliberate and reckless disregard of a high degree of probability that
emotional distress would result to Mikayla and Xavier from Defendants’ actions.
71. Defendants’ extreme and outrageous conduct has proximately caused
Mikayla and Xavier to suffer severe emotional distress.
72. Defendants’ intentional acts directly and proximately caused damages to
Mikayla and Xavier.

COUNT 4

NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

73. Mikayla and Xavier hereby incorporate all paragraphs of this Complaint.
74. Severe emotional distress to Mikayla and Xavier was the reasonably

foreseeable consequence of Defendants’ negligent acts or omissions.

COMPLAINT PAGE 13
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 14 of 17

75. Asadirect and proximate result of Defendants’ negligent acts or omissions,
Mikayla and Xavier suffered severe emotional distress.
76. Defendants’ negligent acts directly and proximately caused damages to
Mikayla and Xavier.
COUNT 5

MONTANA CONSTITUTIONAL RIGHTS
77. Mikayla and Xavier hereby incorporate all previous paragraphs.
78. Pursuant to the Montana Constitution, see Dorwart v. Caraway, 58 P.3d
128 (Mont. 2002), Mikayla and Xavier have the fundamental, inalienable, and self-
executing rights to individual privacy; to be secure in their person, papers, home,
and effects from unreasonable searches and seizures; and not to be deprived of
life, liberty, or property without due process of law.
79. Defendants’ acts and omissions related to the incident involving Mikayla
and Xavier on December 10-12, 2019 violated Mikayla’s and Xavier’s
constitutional rights.
80. Mikayla and Xavier have the right to seek recourse against those who
violate their constitutional rights.
81. Each of the foregoing acts and/or omissions in this Count directly and

proximately caused or contributed to Mikayla’s and Xavier’s constitutional

COMPLAINT PAGE 14
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 15 of 17

deprivations, injuries, and damages, and Mikayla and Xavier are entitled to
compensatory damages and attorneys’ fees for Defendants’ violations of their

state constitutional rights.

COMPENSATORY DAMAGES

82. Asadirect result of Defendants’ unlawful conduct, Mikayla and Xavier
suffered violations of their constitutional rights as set forth above, and suffered
damages, including, but not limited to, emotional distress, pain and suffering, loss
of opportunity, property damages and loss, and economic damages.

PUNITIVE DAMAGES
83. Mikayla and Xavier have filed this action against Defendant Brant and Doe
Defendants in their individual and official capacities.
84. Defendant Brant and Doe Defendants acted knowingly, deliberately,
intentionally, and maliciously without regard for Mikayla’s and Xavier’s rights,
interests, and well-being.
85. Defendant Brant and Doe Defendants exhibited a reckless or callous
disregard for Mikayla’s and Xavier’s constitutional, statutory, and common law

rights; Defendants intentionally violated law; and/or Defendants’ conduct was

COMPLAINT PAGE 15
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 16 of 17

precipitated by evil motive or intent. Accordingly, imposition of punitive damages
is proper and warranted under 42 USC §§1983 and 1985.
86. Defendant Brant’s and Doe Defendants’ actions were motivated by racial
animus.
87. Defendant Brant’s and Doe Defendants’ unlawful acts and omission were
willful and/or reckless; Defendants deliberately acted with indifference to the
high probability of injury to Mikayla and Xavier. Such conduct justifies the
imposition of punitive damages under MCA §§ 27-1-220, 221 in the amount
sufficient to punish Defendants and to serve as a warning to other persons and
legal entities similarly situated that conduct of the kind engaged in by Defendant
Brant and Doe Defendants is unacceptable in our society and will not be
tolerated.

ATTORNEYS’ FEES
88. Pursuant to 42 USC § 1988, the Court may allow an award of attorneys’ fees
to Mikayla and Xavier if they prevail on claims asserted under 42 USC § 1983.
89. Mikayla and Xavier are entitled to recover reasonable attorneys’ fees for
violations of state constitutional rights under Montana’s private attorney general
doctrine.

JURY DEMAND

COMPLAINT PAGE 16
Case 2:20-cv-00026-BMM Document1 Filed 07/09/20 Page 17 of 17

Mikayla and Xavier demand a jury trial on all issues so triable.

RELIEF

WHEREFORE, Mikayla and Xavier respectfully request this Court to grant
the following relief:
1. For damages in a reasonable amount to compensate them fully for
deprivation of their constitutional rights;
2. For damages in a reasonable amount to compensate them fully for their
damages, including emotional distress;
3. For punitive damages in an amount sufficient to punish Defendants and
serve as a warning to other similarly situated persons and entities that such

conduct will not be tolerated;

4, For declaratory and injunctive relief;

5. For attorneys’ fees;

6. For reimbursement of costs and expenses of suit; and
7. For such further relief as the Court deems fair and just.

Dated this 9th day of July, 2020.

/s/Timothy M. Bechtold
BECHTOLD LAW FIRM

Attorneys for Plaintiff

COMPLAINT PAGE 17
